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13
                             NORTHERN DISTRICT OF CALIFORNIA
14
                                     SAN FRANCISCO DIVISION
15

16                                                     CASE NO. 3:22-cv-02990-SI
     IN RE OKTA, INC. SECURITIES
17   LITIGATION                                      [PROPOSED] ORDER REGARDING
                                                     SUBMISSION OF POST-DISTRIBUTION
18                                                   ACCOUNTING
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21          THIS MATTER having come before the Court for a hearing on November 8, 2024, on

22   the motion of Nebraska Investment Council and North Carolina Retirement Systems (“Class

23   Representatives”), on behalf of themselves and the other members of the certified Class, for

24   final approval of the proposed Settlement of the Action and approval of the proposed Plan of

25   Allocation for the proceeds of the Settlement; the Court having considered all papers filed and

26   proceedings had herein and otherwise being fully informed;

27          NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:

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     [PROPOSED] ORDER REGARDING SUBMISSION OF POST-DISTRIBUTION ACCOUNTING
     CASE NO. 3:22-CV-02990-SI
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 1          1.     Consistent with the Northern District of California’s Procedural Guidance for

 2   Class Action Settlements, Class Representatives shall file a Post-Distribution Accounting

 3   concerning the Settlement and its claim process on or before September 19, 2025.

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 6          SO ORDERED this _______ day of ______________ 2024.

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 9                                             _________________________________
                                               THE HONORABLE SUSAN ILLSTON
10                                             UNITED STATES DISTRICT JUDGE
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     [PROPOSED] ORDER REGARDING SUBMISSION OF POST-DISTRIBUTION ACCOUNTING
     CASE NO. 3:22-CV-02990-SI
